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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                     X
 Innovative Sports Management, Inc.
 d/b/a Integrated Sports Media,
                                      ,
                                     Plaintiff(s),                      CERTIFICATE OF
                                                                        DEFAULT
                                                                        1:23-CV-00332-AMD-SJB
               -against-

   Jessenia Burgos, et al             ,
                                     Defendant(s).

                                                     X

       I, Brenna B. Mahoney, Clerk of Court of the United States District Court for the

Eastern District of New York, do hereby certify that the defendant Jessenia Burgos, et al

  has not filed an answer or otherwise moved with respect to the complaint herein. The default of

 defendant Jessenia Burgos, et al       is hereby noted pursuant to Rule 55(a) of the Federal Rules

of Civil Procedure.


Dated: Brooklyn, New York
       April 5, 2023

                                             BRENNA B. MAHONEY, Clerk of Court



                                             By:
                                                         Deputy Clerk
